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                  IN THE UNITED STATES COURT OF APPEALS

                         FOR THE ELEVENTH CIRCUIT


                                   No. 22-13992-J


LEROY PERNELL,
DANA THOMPSON DORSEY,
SHARON WRIGHT AUSTIN,
SHELLEY PARK,
JENNIFER SANDOVAL, et al.,

                                                            Plaintiffs-Appellees,

                                       versus

FLORIDA BOARD OF GOVERNORS
OF THE STATE UNIVERSITY, et al.,

                                                                    Defendants,
BRIAN LAMB,
ERIC SILAGY,
TIMOTHY CERIO,
RICHARD CORCORAN,
AUBREY EDGE, et al.,

                                                          Defendants-Appellants.




                                   No. 22-13994-J


ADRIANA NOVOA,
SAMUEL RECHEK,
FIRST AMENDMENT FORUM AT
UNIVERSITY OF SOUTH FLORIDA,

                                                            Plaintiffs-Appellees,

                                       versus

COMMISSIONER OF THE FLORIDA STATE
BOARD OF EDUCATION
    Case 4:22-cv-00304-MW-MAF Document 111 Filed 03/16/23 Page 2 of 2
  USCA11 Case: 22-13992 Document: 43 Date Filed: 03/16/2023 Page: 2 of 2


TIMOTHY M. CERIO,
RICHARD CORCORAN,
AUBREY EDGE, PATRICIA
FROST, et al,

                                                                       Defendants-Appellants.


                       Appeals from the United States District Court
                           for the Northern District of Florida




Before: WILSON, GRANT and LAGOA, Circuit Judges.

BY THE COURT:

      Appellants’ motions to stay injunction pending appeal are DENIED.

      The Clerk is DIRECTED to treat any motion for reconsideration of this order as a non-

emergency matter.
